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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION



 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §            NO. 1:09-CR-109(31)
                                                   §
 RICHARD BALLARD                                   §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11 with

 consent of all parties, United States Magistrate Judge Earl S. Hines reported his findings, conclusions

 and recommendations regarding defendant’s plea of guilty to Count I of the Information in the

 above-numbered case. The magistrate judge accepted defendant's guilty plea, recommends that

 defendant be adjudged guilty of the offense to which he pleaded guilty, and recommends that the

 court defer acceptance or rejection or defendant’s plea agreement until after reviewing the

 presentence report.

        No party objects to the magistrate judge’s findings and conclusions, and the court is of the

 opinion that they should be and are hereby ADOPTED. Further, the court RATIFIES the

 magistrate judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

        1.      Defendant is adjudged GUILTY of the offense alleged in Count I of the Information,
                a violation of 18 U.S.C. § 1956(h).

        2.      The court [ ] accepts defendant’s plea agreement [ T ] will defer a decision to accept
                or reject defendant’s plea agreement until the court reviews the presentence report.

        SIGNED this the 24 day of May, 2010.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge
